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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for CHARLES GOODMAN
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                 ) No. 17-23 TLN
 8
                     Plaintiff,                    )
 9                                                 ) STIPULATION AND
            v.                                     ) ORDER FOR A NEW SENTENCING DATE
10                                                 ) FOR Mr. GOODMAN OF
                                                   ) March 14, 2019
11
     CHARLES GOODMAN,                              )
12
                                                   )
                     Defendant.                    ) Judge: Hon. Troy L. Nunley
13   ================================)
14          Defendant Charles Goodman is requesting a continuance of his sentencing hearing, which is
15   presently set for February 28, 2019, to a new date of March 14, 2019. Mr. Long will be in the
16   People v. Reyna jury trial in Department 12 of the Sacramento County Superior Court (Judge
17   Gilliard) on February 28, 2018. The Reyna trial will not be in session the week of March 14th.
18   AUSA Jason Hitt, on behalf of the United States Attorney’s Office, and USPO Lynda Moore, on
19   behalf of the United States Probation Office, have no objection to the requested continuance.
20   Dated: February 18, 2019                              Respectfully submitted,
21
                                                           /s/ Michael D. Long
22                                                         MICHAEL D. LONG
                                                           Attorney for Charles Goodman
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24
     Dated: February 18, 2019                              McGREGOR SCOTT
25                                                         United States Attorney
26
                                                           /s/ Jason Hitt
27                                                         JASON HITT
                                                           Assistant U.S. Attorney
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 1                                             ORDER
 2
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 3
            The Court hereby orders that the schedule for Mr. Goodman’s sentencing shall be heard
 4
     on the new date of March 14, 2019.
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 6

 7   Dated: February 19, 2019                   _______________________________
                                                Hon. TROY L. NUNLEY
 8                                              United States District Court Judge
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